       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Justin Godfrey Fahringer
        v. Commonwealth of Virginia
        Record No. 0370-18-3
        Opinion rendered by Judge Chafin on
        April 30, 2019

    2. John Taylor
        v. Virginia Alcoholic Beverage Control Authority
        Record No. 1593-18-3
        Opinion rendered by Judge Humphreys on
        April 30, 2019

    3. John Paris Stevens
        v. Commonwealth of Virginia
        Record No. 1926-17-1
        Opinion rendered by Judge Alston on
        May 7, 2019

    4. Melinda Newman Mills
       v. Robert Alexander Mills
       Record No. 1630-18-2
       Opinion rendered by Judge Russell on
        May 14, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Major Lance Hillman
   v. Commonwealth of Virginia
   Record No. 0287-17-3
   Opinion rendered by Judge Malveaux
    on April 3, 2018
   Refused (180799)

2. Paramont Coal Company Virginia, LLC and
    Brickstreet Mutual Insurance Company
   v. Dewey J. McCoy
   Record No. 0710-18-3
   Opinion rendered by Chief Judge Decker
     on October 30, 2018
   Refused (181679)
